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                           PARTNERSHIP RESOLUTION OF
                        NORTHEAST BROOKLYN PARTNERSHIP

The undersigned, being the general and limited partner of Northeast Brooklyn Partnership (the
“Partnership”), a New York partnership, hereby resolve as follows:

       WHEREAS, the Northeast Brooklyn Partnership (the “Partnership”) as a for-profit
partnership holds its assets to be used for benefit of the Partnership; and

      WHEREAS, its primary tangible assets are properties located at 409 Kosciuszko Street,
Brooklyn, New York; 403 Kosciuszko Street, Brooklyn, New York; 399 Kosciuszko Street,
Brooklyn, New York; 397 Kosciuszko Street, Brooklyn, New York; 675 Halsey Street, Brooklyn,
New York; and 671 Halsey Street, Brooklyn, New York (the “Buildings”); and

       WHEREAS, its assets are used consistent with the interests of the Partnership; and

        WHEREAS, a state foreclosure proceeding has been commenced by the City of New York
against the Partnership and the Buildings; and

       WHEREAS, due to the lack of cooperation by the City of New York the Partnership has
been unable to re-finance the mortgage loans which are the subject of the foreclosure proceeding;
and

       WHEREAS, the Partnership believes that it will be able to re-finance the mortgage loan or
explore sale options in a timely manner; and

        WHEREAS, the state foreclosure proceeding against the Buildings, threatens to deprive
the Partnership of its primary tangible assets and harm the interests of the Partnership; and

        WHEREAS, the undersigned have sufficient authority as the general partner and limited
partner of the Partnership to act in furtherance of the interests of the Partnership; and

       WHEREAS, by use of the provisions of Chapter 11 of title 11 of the United Sates Code
(the “Bankruptcy Code”), the Partnership believes it will both protect its primary tangible asset
and further the interests of the Partnership,

       Now, therefore be it:

        RESOLVED, that, given the authority duly provided to the undersigned, and given that in
the judgment of Northeast Brooklyn Partnership (the “Partnership”), it is desirable and in the best
interests of the Partnership, its creditors and other interested parties, a petition be filed by the
Partnership seeking relief under the provisions of Chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”); and it is further

       RESOLVED, that, Cheryl’s Villa Housing Corporation and North Hill 1 LLC, as general
and limited partner of the Partnership, hereby agree that Jeffrey E. Dunston (the “Authorized
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Signatory”) be and hereby is authorized, empowered, and directed, in the name and on behalf of
the Partnership, to execute and verify a petition under Chapter 11 of the Bankruptcy Code and to
cause the same to be filed in the United States Bankruptcy Court for the Eastern District of New
York (the “Bankruptcy Court”) at such time as he shall determine; and it is further
       RESOLVED, that, the law firm of Archer & Greiner, P.C., 630 Third Avenue, New York,
New York 10017, is hereby employed as attorneys for the Partnership in the Partnership’s Chapter
11 case; and it is further
         RESOLVED, that, the Authorized Signatory be, and hereby is, authorized, empowered,
and directed to execute and file all petitions, schedules, motions, lists, applications, pleadings, and
other papers and, in connection therewith, to employ and retain all assistance by legal counsel,
accountants, financial advisors, and other professionals and to take and perform any and all further
acts and deeds that such Authorized Signatory deem necessary, proper, or desirable in connection
with the Partnership’s Chapter 11 case, with a view to the successful prosecution of such case; and
it is further
        RESOLVED, that the Authorized Signatory and such other persons as the Authorized
Signatory shall designate from time to time, and any agents (including counsel) designated by or
directed by the Authorized Signatory be, and each hereby is, authorized, empowered, and directed,
in the name and on behalf of the Partnership to cause the Partnership to negotiate, enter into,
execute, deliver, certify, file, and/or record, and perform such agreements, instruments,
assignments, motions, affidavits, applications for approvals or rulings of governmental or
regulatory authorities, certificates, or other documents and to take such other actions, as in the
judgment of any such officer shall be or become necessary, proper, and desirable to effectuate a
successful reorganization of the Partnership’s business; and it is further
        RESOLVED, that the Authorized Signatory and such other persons as the Authorized
Signatory shall from time to time designate, be, and each hereby is, authorized, empowered and
directed, in the name and on behalf of the Partnership to: (i) negotiate, execute, deliver and/or file,
in addition to the agreements, documents, and instruments referenced herein, such other
agreements, documents and instruments and assignments thereof as may be required or as such
Authorized Signatory deem appropriate or advisable, or to cause the negotiation, execution and
delivery thereof, in the name and on behalf of the Partnership in such form and substance as such
Authorized Signatory may approve, together with such changes and amendments to any of the
terms and conditions thereof as such officers may approve, with the execution and delivery thereof
on behalf of the Partnership by or at the direction of such Authorized Signatory to constitute
evidence of such approval, (ii) negotiate, execute, deliver and/or file, in the name and on behalf of
the Partnership any and all agreements, documents, certificates, consents, filings, and applications
relating to the resolutions adopted and matters ratified or approved herein and the transactions
contemplated thereby, and amendments and supplements to any of the foregoing, and to take such
other actions as may be required or as such Authorized Signatory deem appropriate or advisable
in connection therewith, and (iii) do such other things as may be required, or as may in their
judgment be appropriate or advisable, in order to effectuate fully the resolutions adopted and
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matters ratified or approved herein and the consummation of the transactions contemplated
thereby; and it is further
       RESOLVED, that the Authorized Signatory and such other persons as the Authorized
Signatory shall from time to time designate, be, and each hereby is, authorized and empowered on
behalf of and in the name of the Partnership to execute such consents of the Partnership as the
Authorized Signatory considers necessary, proper, or desirable to effectuate these resolutions, such
determination to be evidenced by such execution or taking of such action; and it is further
       RESOLVED, that any and all past action heretofore taken by the Authorized Signatory of
the Partnership in the name and on behalf of the Partnership in furtherance of any or all of the
preceding resolutions be, and the same hereby is, ratified, confirmed, and approved.
IN WITNESS WHEREOF, the undersigned partners of the Partnership has hereunto set our hand
this 11th day of February, 2019.

                                                     Cheryl’s Villa Housing
                                                     Corporation, General Partner


                                                     _____________________________
                                                     Jeffrey E. Dunston
                                                     Authorized Signatory


                                                     North Hill 1 LLC, Limited Partner


                                                     _____________________________
                                                     Jeffrey E. Dunston
                                                     Authorized Signatory
